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                         Exhibit E

       REDACTED VERSION OF
      DOCUMENT SOUGHT TO BE
             SEALED




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     From:          Sheree Chang (shereechang@apple.com)
     To:            Matt Fischer (matt.fischer@apple.com)
     CC:            Erin Polgreen (polgreen@apple.com), Alston Cheek (alston@apple.com)
     BCC:
     Subject:       Fwd: Follow up
     Attachments:
     Sent:          06/08/2018 01:14:34 AM 0000 (GMT)

     Matt,

     As expected, Match Group is now officially following up the topic of revenue share, which they raised at dinner a few weeks
     ago. How would you like us to respond to this? I’m happy to work with Sean to craft a response stating that our commission
     structure will remain at 30%. Since Match shares data and best practices with Netflix, I suspect the current tests are
     responsible for this topic being raised again.

     In regards to the other topics raised, Erin can provide them with an update on IAP reconciliation and Alston can work with
     them on 2 factor authentication. Also as an FYI, Erin will be meeting with Tinder in LA on Monday regarding some other
     operational issues.


       Begin forwarded message:

       From: Adrian Ong < Adrian.Ong@match.com >
       Subject: Follow up
       Date: June 7, 2018 at 4:11:21 PM PDT
       To: "shereechang@apple.com " <shereechang@apple.com >

       Hi Sheree

       Pleasure to meet you and the team in Cuper no and my team looks forward to working with you all.

       I wanted to follow up on several topics that we touched on during our mee ng / dinner:

             ·   IAP reconcilia on
                    o We need to ensure we have a way to reconcile the transac ons we see our end and payments you make to
                        us
                    o As discussed, our ﬁgures from Apple for just our Tinder business can be oﬀ as much as ~$1M at any me
                        during the year which is a concern
                    o According to Erin, this is brought up frequently by other partners
                    o Can we iden fy next steps and dates to ensure we are seeing trac on on this? FYI We do not have this
                        issue on Android
             ·   Rev share
                    o As discussed over dinner and per our presenta on, we drove              in rev share revenue for Apple, up
                                           and we expect to con nue our solid growth
                            § Apple drove minimal new discovery         ) while the majority were users organically looking for our
                                apps        )
                            § Our new product features such as Tinder Gold drove subscriber growth resul ng in the app shoo ng
                                up the top grossing charts to #1 outside of games last year
                            § Therefore, while we understand the value of the pla orm historically, we are the ones driving the
                                YoY growth and incremental value add - not Apple (i.e. this wasn’t from increased phone sales or
                                features you oﬀered) while your pla orm reaps the beneﬁt. This feels somewhat one-sided.
                    o Da ng as a category is episodic
                            § The average subscriber stays only 4-5 months




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                          § As a top grossing partner, we never are able to take advantage of the 15% rev share since the intent
                              of our apps is to actually have people meet and leave our apps
                          § Other top grossing partners such as our colleagues at Ne lix have an average subscriber length of
                              43 months, which means their average rev share works out to be approximately 18% - much closer
                              to the 15% than the 30% commissions we pay
                  o Channel op miza on
                          § Historically, Tinder grew up as an app ﬁrst business and never had their own payment system.
                              Therefore, they had no choice but to u lize IAP on both IOS and Android. Late last year, Tinder
                              launched an interna onal web product and its own payment system.
                          § None of the Match Group brands u lize IAP on Android except for Tinder – however this is likely to
                              change
                          § Therefore looking forward at channels, user acquisi on and conversion – Apple becomes the only
                              business that charges 30% and the least a rac ve since 30% ROI just to break-even is a high
                              hurdle to cross (either from a conversion and/or reten on perspec ve) rela ve to our other
                              pla orm op ons. In the spirit of a true and eﬀec ve partnership, we should be u lizing your
                              pla orm and driving growth based purely on its eﬀec veness – rather than because we have to
                              and/or looking at other channels due to your legacy rules around the 30% and ROI impact. All of
                              this would lead to more app downloads and growth.
                          § Being in the payments space for a very long me, we also know that the 30% rate is arbitrary since i)
                              we know that other categories are not forced to use IAP and ii) the cost of accep ng payments is
                              only <2-5%
                  o I don’t know if you’ve already discussed the above with Ma per our discussion at dinner, but I’d like to get
                      the dialogue going about poten ally modifying our rev share given that we’re a top grossing partner and
                      especially because of the episodic nature of our business. I’d like to propose that the da ng category
                      and/or other similar episodic categories are either a) included in the exclusion list (since our subscribers
                      are with us for such a short period of me + this may be easier since an exclusion list already exists for
                      physical goods, etc) or b) we deﬁne a separate category for da ng that is able to take advantage of the
                      15% immediately due to the short term and episodic nature of our businesses
          ·    2-factor Authen ca on (new topic)
                  o Does Apple have a solu on for 2-factor authen ca on for its apps? We’re looking at introducing this
                      func onality for several of our brands.
                  o I spoke to an old colleague who now works at Hilton and they informed me about Business Chat via
                      Messages. Is it possible and/or do some apps use Business Chat for 2FA or do you have an alterna ve
                      solu on? The other op on is obviously to engage a third party like a Nexmo or Twilio.

      I look forward to collabora ng with you and the team on this partnership and these are the large cket items on the top of
      my mind right now. As I men oned during our mee ng, we could have an extremely beneﬁcial rela onship where we
      share best prac ces and work together to drive growth for both our businesses. I believe we can provide a lot of value
      given that we’ve been running subscrip on / recurring / auto-renewal businesses for longer than almost any digital goods
      + services business out there today and so whether it’s around payment / conversion op miza on to reten on to
      auto-renewal best prac ces, we can assist.

      Look forward to hearing from you and I propose we get something on the calendar to touch base at least once a month.

      Best,
      -AO

      Adrian Ong
      SVP, Opera ons
      match group




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